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         Case Type:                           CIVIL
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                                                                  Proof of Service


           2                             8/14/2019                Request for Dismissal                        1-2                                       ? Preview                       2


                                                                  Declaration - DECLARATION OF
                                                                  ILYA ALEKSEYEFF RE OSC RE
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                                                                  SANCTIONS FOR FAILURE TO
                                                                  APPEAR

                                                                  Notice - NOTICE OF OSC RE
                                                                  SANCTIONS FOR PLAINTIFF'S
                                                                  COUNSEL'S FAILURE TO APPEAR
           4                             8/8/2019                 AT THE JULY 26, 2019 OSC RE                  1-3                                       ? Preview                       3
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                                                                  CONTINUANCE OF OSC RE
                                                                  DISMISSAL (SETTLEMENT)

                                                                  Minute Order - MINUTE ORDER
           5                             7/26/2019                (ORDER TO SHOW CAUSE RE:                     1-1                                       ? Preview                       1
                                                                  DISMISSAL (SETTLEMENT))

           6                             7/26/2019                Stipulation and Order -                                                                ? Preview                       3
                                                                                                               1-3
                                                                  STIPULATION AND ORDER
                                                                  STIPULATION THAT THE COURT
                                                                  MAY RETAIN JURISDICTION TO
                                                                  ENFORCE THE SETTLEMENT
                                                                  AGREEMENT PURSUANT TO
                                                                  CCP §664.6; AND ORDER
                                                                  THEREON
                                                                                                                                                               Exhibit V - 1
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                                                         #:2666
                                                               Order to Show Cause re:
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                                                               Dismissal (Settlement)

                                                               Proof of Service (not Summons
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                                                               and Complaint)


            9                               5/22/2019          Notice of Settlement                        1-2                           ? Preview                     2


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